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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                              ALEXANDRIA DIVISION

      ELECTRONIC PRIVACY INFORMATION CENTER
      1519 New Hampshire Avenue, NW
      Washington, D.C. 20036

      DOE 1

      Plaintiffs,

      v.                                                     Case No. 1:25-cv-00255

      U.S. OFFICE OF PERSONNEL MANAGEMENT
      1900 E Street NW
      Washington, DC 20415

      CHARLES EZELL, in his official capacity as Acting
      Director of the Office of Personnel Management
      1900 E Street NW
      Washington, D.C. 20415 U.S.

      DEPARTMENT OF THE TREASURY
      1500 Pennsylvania Avenue NW
      Washington, DC 20220

      SCOTT BESSENT, in his official capacity as Secretary
      of the Treasury
      1500 Pennsylvania Avenue NW
      Washington, D.C. 20220

      U.S. DIGITAL SERVICE (U.S. DOGE SERVICE)
      736 Jackson Place NW
      Washington, D.C. 20503

      ACTING U.S. DOGE SERVICE ADMINISTRATOR
      736 Jackson Place NW
      Washington, D.C. 20503

      U.S. DOGE SERVICE TEMPORARY
      ORGANIZATION
      736 Jackson Place
      Washington, D.C. 20503

      Defendants.
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                MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’
                 MOTION FOR A TEMPORARY RESTRAINING ORDER

                                        INTRODUCTION

            On the evening of his inauguration, President Trump signed an Executive Order

     “Establishing and Implementing the President’s ‘Department of Government Efficiency.’”

     The Executive Order renamed and reorganized the United States Digital Service as the U.S

     DOGE Service (“DOGE”), instructed agency heads to provide DOGE with extensive

     access to agency records and IT systems, and nominally required DOGE to adhere to strong

     data protection standards. DOGE quickly got its access—including to information systems

     containing Plaintiffs’ confidential personal information.

            But in the weeks since the inauguration, DOGE has disregarded the latter

     requirement, running roughshod over core data protections and endangering the security of

     vital government systems. Since Inauguration Day, DOGE personnel have sought and

     obtained unprecedented access to information systems across numerous federal agencies,

     including the Department of Treasury (“Treasury”), Office of Personnel Management

     (“OPM”), and at least ten others. In addition to infiltrating their information systems,

     DOGE personnel also played critical roles in the dismantling of USAID and ongoing

     concurrent efforts to largely cripple the Department of Education.

            Plaintiffs are and represent individuals whose sensitive, confidential, and

     personally identifiable information has been unlawfully accessed and endangered by

     DOGE. Plaintiff Doe 1 is a career civil servant who has electronically filed her tax returns

     through the Bureau of the Fiscal Service (“BFS”) within the last six years. Declaration of

     Doe 1, Exhibit A (“Doe Decl. (Ex. A)”) ¶¶ 2, 5–7. Her information is stored in the

     informational systems Treasury and OPM maintain, namely BFS and Enterprise Human



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     Resources Integration (“EHRI”), and to which DOGE operatives have gained access. Id.

     ¶¶ 5, 8. She understood that in handling her data, the government would keep it private

     and confidential, and that it would observe all applicable laws in handling it. Id. ¶¶ 8, 9.

     Likewise, Plaintiff EPIC has members who have filed returns with and received refunds

     from Treasury, and expected their information to be kept private and confidential.

     Declaration of Alan Butler, Exhibit B (“Butler Decl. (Ex. B)”) ¶¶ 7–12; Declaration of

     Leonard Kennedy, Exhibit C (“Kennedy Decl. (Ex. C)”) ¶¶ 9–13; Declaration of David

     Brody, Exhibit D (“Brody Decl. (Ex. D)”) ¶¶ 9–13; Declaration of Bruce Schneier, Exhibit

     E (“Schneier Decl. (Ex. E)”) ¶¶ 9–13.

            At Treasury, DOGE operatives immediately zeroed in on the Bureau of Fiscal

     Service payment systems, which distribute the overwhelming majority of federal

     payments, including payments to vendors and employees, Social Security benefits, and tax

     refunds. Prior to the Senate’s confirmation of Secretary Bessent, employees affiliated with

     DOGE reportedly asked about Treasury’s ability to stop payments.1 Elon Musk, who is

     either the Acting Administrator for the U.S. DOGE Service or is substantially directing its

     work, has also been clear about his interest in the ability to use the BFS system to stop

     payments, posting on his social media website that DOGE operatives “discovered, among

     other things, that payment approval officers at Treasury were instructed always to approve

     payments, even to known fraudulent or terrorist groups. They literally never denied a

     payment in their entire career. Not even once.”2



     1
       How an arcane Treasury Department office became ground zero in the war over federal
     spending, CNN, Jan. 31, 2025, https://www.cnn.com/2025/01/31/politics/doge-treasury-
     department-federal-spending/index.html.
     2
       Elon Musk (@elonmusk), X/Twitter (Feb. 1, 2025, 1:52 AM ET)
     https://x.com/elonmusk/status/1885582076247712229.

                                                  2
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            On January 27, Secretary Bessent authorized at least two DOGE representatives

     access to the BFS system. This access, and the identity of these political staffers, has only

     been revealed through public reporting.3

            Meanwhile, DOGE operatives also infiltrated the Office of Personnel Management

     (“OPM”), moving sofa beds into the agency’s headquarters and revoking civil servants’

     access to Enterprise Human Resources Integration system (“EHRI”), which contains

     millions of federal employees’ Personally Identifiable Information (“PII”) including social

     Security numbers, dates of birth, salaries, home addresses, job descriptions, and

     disciplinary records.4 According to some reports, a DOGE-affiliated worker “literally

     walked into our building and plugged in an email server to our network” to start sending

     government-wide emails. Complaint, Does v. OPM, No. 1:25-cv-00234 (D.D.C., Jan 27,

     2025), ECF No. 1. And DOGE operatives at OPM have not stopped there, combing

     through OPM databases “looking through all the position descriptions . . . to remove

     folks.”5

            DOGE’s behavior repeats itself across virtually every agency it enters: swooping

     in with new DOGE staff, demanding access to sensitive systems, taking employment action

     against employees who resist their unlawful commands, and then beginning to re-work the



     3
       Andrew Duehren et al., Elon Musk’s Team Now Has Access to Treasury’s Payments
     System, The New York Times, Feb. 2, 2021,
     https://www.nytimes.com/2025/02/01/us/politics/elon-musk-doge-federal-payments-
     system.html.
     4
       Tim Reid, Exclusive: Musk aides lock workers out of OPM computer systems, Reuters,
     Jan. 31, 2025, https://www.reuters.com/world/us/musk-aides-lock-government-workers-
     out-computer-systems-us-agency-sources-say-2025-01-31/.
     5
       Hafiz Rashid, Elon Musk Installs Illegal Server to Seize All Federal Workers’ Data,
     Yahoo News, Feb. 3, 2025, https://www.yahoo.com/news/elon-musk-makes-most-
     terrifying-183451530.html.



                                                  3
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     agencies at their will. This process moves incredibly quickly, with agencies established by

     Congress accessed within a matter of hours; or functionally decommissioned within a

     week. But federal information law bars DOGE’s access to these systems, and OPM and

     Treasury officials were not authorized to grant that access. Because the systems access of

     both various unidentified DOGE officials is contrary to law and poses an ongoing threat to

     information security, this court should grant immediate relief terminating that access.

                                        LEGAL STANDARD

             To obtain a temporary restraining order, a plaintiff must “establish that (1) they are

     likely to succeed on the merits of their case; (2) they are likely to suffer irreparable harm

     in the absence of injunctive relief; (3) the balance of the equities tips in their favor; and (4)

     an injunction would be in the public interest.” Sarsour v. Trump, 245 F. Supp. 3d 719, 728

     (E.D. Va. 2017) (citing Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008) and

     Manning v. Hunt, 119 F.3d 254, 263 (4th Cir. 1997)). “The standard for granting either a

     TRO or a preliminary injunction is the same.” Id. (quoting Moore v. Kempthorne, 464

     F.Supp.2d 519, 525 (E.D. Va. 2006). The final two factors of equity and public interest

     “merge when the Government is the opposing party.” Miranda v. Garland, 34 F.4th 338,

     365 (4th Cir. 2022) (quoting Nken v. Holder, 556 U.S. 418, 435 (2009)).




                                     FACTUAL BACKGROUND

                           OPM and Treasury Systems and Plaintiffs’ Data

             Treasury and OPM systems house enormous amounts of sensitive personal

     information. Specifically, the Bureau of Fiscal Service (“BFS”) payment systems contain




                                                    4
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     Social Security numbers, tax return information, and other highly sensitive personal

     information about tens of millions of Americans, if not more. And OPM’s Enterprise

     Human Resources Integration (“EHRI”) system contains personal data on millions of

     federal employees, including Social Security numbers, home addresses, information about

     disciplinary actions, and other sensitive personal information.

            Along with the robust legal protections detailed below, these systems are protected

     by Systems of Records Notices (“SORNs”), as required by the Privacy Act. EHRI is

     subject to the OPM-GOVT-1 SORN,6 which provides that information in the system can

     be disclosed only for narrow, carefully defined purposes, none of which apply to the

     Department of Government Efficiency’s access to the system. Similarly, the BFS systems

     are subject to SORNs7 which permit access only in circumstances not present here. And

     the systems have historically been operated by career civil servants without direct

     involvement by political employees.

                       Creation of The Department of Government Efficiency

            On November 12, 2024, then President-Elect Trump announced his intent to create

     the “Department of Government Efficiency” (“DOGE”) to “provide advice and guidance

     from outside of Government” to “the White House and Office of Management & Budget,”




     6
       OPM, OPM GOVT-1: General Personnel Records, accessible at
     https://www.opm.gov/information-management/privacy-policy/sorn/opm-sorn-govt-1-
     general-personnel-records.pdf.
     7
       BFS information related to payment and benefits for federal employees is generally
     subject to Treasury.001, Notice of System of Records, 89 Fed. Reg. 25688 (Apr. 11,
     2024), while tax return information is covered by several SORNs, most notably FS .02
     (which pertains to recipients of government payments) and FS .013 (which pertains to
     people who make electronic payments to the government). Notice of System of Records,
     85 Fed. Reg. 11776 (Feb. 27, 2020).

                                                  5
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     to help “pave the way” for the Trump-Vance Administration to “dismantle,” “slash,” and

     “restructure” federal programs and services.8

             Over the next several months, DOGE personnel spoke with staffers at federal

     agencies including the Department of Treasury, the Internal Revenue Service, the

     Department of Homeland Security, Veterans Affairs, and the U.S. Department of Health

     and Human Services.9 These employees were directed in large part by Elon Musk, who is

     either the Acting USDS Administrator or otherwise exercising substantial authority within

     USDS.

             On the day of his inauguration, January 20, 2025, President Trump signed

     Executive Order 14158, Establishing and Implementing the President’s “Department of

     Government Efficiency,” (“the E.O.”), reorganizing and renaming the United States Digital

     Service as the United States DOGE Service, established in the Executive Office of the

     President.10

             The E.O. established the role of U.S. DOGE Service Administrator in the Executive

     Office of the President, reporting to the White House Chief of Staff.11

      The E.O. further established within the U.S. DOGE Service the “U.S. DOGE Service

     Temporary Organization,” a temporary organization headed by the U.S. DOGE Service

     Administrator and tasked with advancing “the President’s 18-month DOGE agenda.”12



     8
       See Donald J. Trump (@realDonaldTrump), Truth Social (Nov. 12, 2024, 7:46 PM ET),
     https://truthsocial.com/@realDonaldTrump/posts/113472884874740859.
     9
       Faiz Siddiqui, Jeff Stein and Elizabeth Dwoskin, DOGE is dispatching agents across
     U.S. government, Wash. Post (Jan. 10, 2025),
     https://www.washingtonpost.com/business/2025/01/10/musk-ramaswamy-doge-federal-
     agencies/.
     10
        Exec. Order No. 14158, 90 Fed. Reg. 8441 (Jan. 29, 2025).
     11
        Id. § 3(b).
     12
        Id.

                                                  6
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             The E.O. also requires each Agency Head to establish a “DOGE Team” comprising

     at least four employees within their respective agencies. DOGE Teams are required to

     “coordinate their work with [the U.S. DOGE Service] and advise their respective Agency

     Heads on implementing the President’s DOGE agenda.13

             The E.O. instructs the U.S. DOGE Service Administrator to “commence a Software

     Modernization Initiative to improve the quality and efficiency of government-wide

     software, network infrastructure, and information technology (IT) systems.”14        The

     Administrator must work with Agency Heads to “promote inter-operability between

     agency networks and systems, ensure data integrity, and facilitate responsible data

     collection and synchronization.”15

             The E.O. further requires Agency Heads to take all necessary steps to “ensure

     USDS has full and prompt access to all unclassified agency records, software systems, and

     IT systems.”16 The E.O. nominally directs the U.S. DOGE Service to adhere to “rigorous

     data protection standards.”17

                      Operations of the Department of Government Efficiency

             Since Inauguration Day, USDS/DOGE personnel, many of them associates of Elon

     Musk, have sought and obtained unprecedented access to information systems across

     numerous federal agencies, including: the Centers for Disease Control and Prevention, the

     Centers for Medicare & Medicaid Services; the Department of Education; the National

     Oceanographic and Atmospheric Administration; the Department of Energy; the Federal



     13
        Id. § 3(c).
     14
        Id. § 4(a).
     15
        Id.
     16
        Id. § 4(b).
     17
        Id.

                                                7
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     Emergency Management Agency; the Department of Labor; the U.S. Agency for

     International Development; the Department of Veterans Affairs; the Consumer Financial

     Protection Bureau; and the two agencies at issue here, Treasury and OPM.18

            DOGE follows the same pattern across virtually every agency it enters: swooping

     in with new DOGE staff, demanding access to sensitive systems, often threatening

     employment action again employees who resist their unlawful commands, and, in many

     instances, beginning to reorganize the agencies. This process moves with extraordinary

     speed, with Congressionally created agencies fully compromised essentially overnight, or

     seemingly dismantled within days.

            Under ordinary circumstances, the access requested and obtained by DOGE would

     be prevented by compliance with the rigorous scheme of legal protections detailed below.

     But several agencies, including Treasury and OPM, have instead acquiesced to DOGE’s

     demands.



                                    DOGE Access to Treasury

            After President Trump’s inauguration on January 20, he named a senior career

     Treasury official, David Lebryk, as Acting Secretary of the Treasury.19 When DOGE




     18
        Chas Danner, All the Federal Agencies DOGE Has Broken Into, N.Y. Mag. (Feb. 9,
     2025), https://nymag.com/intelligencer/article/doge-elon-musk-what-federal-agencies-
     access-lawsuits.html; Mike Wendling, Musk’s Doge takes aim at US consumer protection
     agency, BBC News (Feb. 8, 2025), https://www.bbc.com/news/articles/cly48101n19o.
     19
        Jeff Stein, Isaac Arnsdorf & Jacqueline Alemany, Senior U.S. Official Exits After Rift
     with Musk Allies over Payment System, Wash. Post (Jan. 31, 2025),
     https://www.washingtonpost.com/business/2025/01/31/elon-musk-treasury-department-
     payment-systems/.

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    personnel arrived at Treasury, they asked Lebryk about Treasury’s ability to stop BFS

    payments, to which Lebryk replied “we don’t do that.”20

           On the same day as his confirmation as Secretary of Treasury on January 27,

    Secretary Bessent granted system access to DOGE personnel.21 Lebryk was subsequently

    placed on administrative leave for his refusal to grant system access to DOGE personnel,

    and he has since retired from government.22

           Despite the expansive access granted by Secretary Bessent, career Treasury

    employees have consistently underscored to DOGE affiliates that it is not the role of

    Treasury or BFS to approve or deny payments because “the decision about whether to

    approve or deny payments belongs to individual agencies based on funds appropriated by




    20
       Katelyn Polantz, Phil Mattingly & Tierney Sneed, How an Arcane Treasury
    Department Office Is Now Ground Zero in the War over Federal Spending, CNN (Feb. 1,
    2025), https://www.cnn.com/2025/01/31/politics/doge-treasury-department-federal-
    spending/index.html.
    21
       Andrew Duehren et al., Elon Musk’s Team Now Has Access to Treasury’s Payment
    System, N.Y. Times (Feb. 1, 2025),
    https://www.nytimes.com/2025/02/01/us/politics/elon-musk-doge-federal-payments-
    system.html; Jeff Stein, Musk Aides Gain Access to Sensitive Treasury Department
    Payment System, Wash. Post (Feb. 1, 2025),
    https://www.washingtonpost.com/business/2025/02/01/elon-musk-treasury-payments-
    system/.
    22
       Stein et al., Senior U.S. Official Exits After Rift with Musk Allies over Payment System,
    supra note 19; Andrew Duehren et al., Treasury Official Quits After Resisting Musk’s
    Requests on Payments, N.Y. Times (Jan. 31, 2025),
    https://www.nytimes.com/2025/01/31/us/politics/david-lebryk-treasury-resigns-
    musk.html.

                                                  9
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    Congress.”23 According to public reporting, anyone with this level of access would have

    the ability to “turn off funding selectively.”24

           One person with such access was Marko Elez, a former Musk employee who had

    administrator-level access to BFS systems, which would have enabled him to “navigate an

    entire file system, change user permissions, . . . delete or modify critical files . . . bypass

    the security measures of, and potentially cause irreversible changes to, the very systems

    they have access to.”25 Elez, who has since resigned from DOGE over his connection with

    racist social media posts,26 had his access downgraded to ”read-only’ by February 5, but

    not before then Secretary-Designee Bessent and the White House Press Secretary both

    publicly indicated that DOGE did not have administrative access to Treasury systems.27

           DOGE access to Treasury systems was further temporarily limited by the District

    Court for the District of D.C., which limited DOGE-related access to “read only” access




    23
       Gregory Korte & Viktoria Dendrinou, Musk Says DOGE Halting Treasury Payments
    to US Contractors, Bloomberg (Feb. 2, 2025),
    https://www.bloomberg.com/news/articles/2025-02-02/musk-says-doge-is-rapidly-
    shutting-down-treasury-payments.
    24
       Greg Sargent, Trump and Elon Musk Just Pulled off Another Purge – And It’s a Scary
    One, The New Republic (Jan. 31, 2025), https://newrepublic.com/article/191014/trump-
    elon-musk-treasury-purge.
    25
       A 25-Year-Old With Elon Musk Ties Has Direct Access to the Federal Payment
    System, WIRED (Feb. 4, 2025)
    https://www.wired.com/story/elon-musk-associate-bfs-federal-payment-system/; see also
    James Lidell, A 25-year-old Elon Musk acolyte has access to 'nearly all payments made
    by U.S. government’, The Independent (Feb. 4, 2025), https://www.the-
    independent.com/news/world/americas/us-politics/elon-musk-marko-elez-treasury-doge-
    b2691932.html.
    26
       Katherine Long, DOGE Staffer Resigns Over Racist Posts, Wall St. J. (Feb. 7, 2025),
    https://www.wsj.com/tech/doge-staffer-resigns-over-racist-posts-d9f11a93.
    27
       The US Treasury Claimed DOGE Technologist Didn’t Have “Write Access” When He
    Actually Did, WIRED (Feb. 6, 2025), https://www.wired.com/story/treasury-department-
    doge-marko-elez-access/.

                                                  10
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    for Elez and Tom Krause, another individual affiliated with DOGE, in a February 6 order.28

    A group of labor unions and an organization that advocates for retirees have challenged

    DOGE’s access to Treasury systems on Privacy Act and Internal Revenue Code grounds;

    by agreement of the parties, Treasury temporarily limited DOGE access to its systems

    pending a decision on a forthcoming motion for preliminary injunction. Alliance for

    Retired Americans v. Bessent, No. 1:25-cv-00313 (D.D.C., Feb. 6, 2025).

           Consistent with DOGE’s approach to date, within a day of DOGE’s first access to

    the system, information exfiltrated from the BFS payment systems was broadcast to a wide

    audience on X/Twitter by retired Lt. General Michael Flynn:29




    28
       Order, Alliance for Retired Americans v. Bessent, No. 1:25-cv-00313 (D.D.C., Feb. 6,
    2025), ECF No. 13.
    29
       Mike Flynn (@GenFlynn), X/Twitter (Feb. 1, 2025, 9:04 PM ET),
    https://x.com/GenFlynn/status/1885872007062892568.

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           Elon Musk replied to the tweet, stating that “The @DOGE team is rapidly shutting

    down these illegal payments.”30 Indeed, after DOGE personnel gained access to Treasury

    payment systems, the DOGE account on Twitter claimed that it was “stopping improper

    payments.”31

                                     DOGE Access to OPM

           On Inauguration Day, Musk and others affiliated with DOGE “assumed command”

    of OPM by taking over the agency’s headquarters, which can only be accessed with a

    security badge or security escort. OPM employees described the move as a “hostile

    takeover.”32 DOGE personnel took control of computer systems, and at least six DOGE

    agents demanded from career staff, and were promptly given broad administrator-level

    access to all personnel systems, including the EHRI system.33 DOGE personnel then

    locked career civil servants at OPM out of those same systems.34

           According to two OPM staffers, these DOGE personnel now have “the ability to

    extract information from databases that store medical histories, personally identifiable




    30
       Elon Musk (@elonmusk), X/Twitter (Feb. 2, 2025, 3:14 AM ET),
    https://x.com/elonmusk/status/1885964969335808217.
    31
       Department of Government Efficiency (@DOGE), X/Twitter (Jan. 28, 2025, 7:20 PM
    ET), https://x.com/DOGE/status/1884396041786524032.
    32
       Reid, Musk Aides Lock Workers out of OPM Computer Systems, supra note 4.
    33
       Isaac Stanley-Becker, et al., Musk’s DOGE agents access sensitive personnel data,
    alarming security officials, Wash. Post (Feb. 6, 2025)
    https://www.washingtonpost.com/national-security/2025/02/06/elon-musk-doge-access-
    personnel-data-opm-security/.
    34
       Reid, Musk Aides Lock Workers out of OPM Computer Systems, supra note 4.

                                               12
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    information, workplace evaluations, and other private data,”35 including personal

    information for the 24.5 million people who applied for federal employment on USAJobs.36

                                         Legal Responses

           Plaintiffs are aware of three challenges related to DOGE activity at Treasury or

    OPM, specifically:

           A number of states recently challenged DOGE access to Treasury systems and

    obtained a temporary restraining order limiting DOGE operations at the Department of

    Treasury until February 14, 2025.       Order, New York v. Trump, No. 1:25-cv-01144

    (S.D.N.Y., Feb. 8, 2025), ECF No. 6. In granting the order, the court expressed its “firm

    assessment” the plaintiffs would “face irreparable harm in the absence of injunctive relief.

    . . both because of the risk that the new policy presents of the disclosure of sensitive and

    confidential information and the heightened risk that the systems in question will be more

    vulnerable than before to hacking.” Id. at 2.37

           A group of labor unions and an organization that advocates for retirees have

    challenged DOGE’s access to Treasury systems on Privacy Act and Internal Revenue Code

    grounds; by agreement of the parties, Treasury temporarily limited DOGE access to its

    systems pending a decision on a forthcoming motion for preliminary injunction. Order,



    35
       Caleb Ecarma & Judd Legum, Musk Associates Given Unfettered Access to Private
    Data of Government Employees, Musk Watch (Feb. 3, 2025),
    https://www.muskwatch.com/p/musk-associates-given-unfettered.
    36
       Stanley-Becker, et al., Musk’s DOGE agents access sensitive personnel data, supra
    note 33.
    37
       The substantive overlap between the New York v. Trump restraining order and the order
    Plaintiffs request does not weigh against granting Plaintiffs’ requested order. Whitman-
    Walker Clinic, Inc. v. U.S. Dep’t of Health & Hum. Servs., 485 F. Supp. 3d 1, 60 (D.D.C.
    2020) (“[C]ourts routinely grant follow-on injunctions against the Government, even in
    instances when an earlier nationwide injunction has already provided plaintiffs in the
    later action with their desired relief.”) (collecting cases).

                                                13
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    Alliance for Retired Americans v. Bessent, No. 1:25-cv-00313 (D.D.C., Feb. 6, 2025), ECF

    No. 13.

              And several anonymous federal employees are currently seeking a temporary

    restraining order in a challenge to DOGE’s reported use of an unknown email server

    connected to OPM systems as a violation of the E-Government Act of 2002. Amended

    Complaint, Doe v. OPM, No. 1:25-cv-00234 (D.D.C., Feb. 7, 2025), ECF No. 14.

                                            ARGUMENT

              Each of the factors for a temporary restraining order favor Plaintiffs. See Sarsour

    v. Trump, 245 F. Supp. 3d at 728. Defendants have violated the Federal Information

    Security Act, the Privacy Act, the Internal Revenue Code, and the Due Process Clause of

    the Fifth Amendment, in excess of their legal authority. Their unlawful actions have

    exposed and continue to expose statutorily protected PII to access by unidentified and

    unauthorized users for no lawful purpose. Beyond the immediate harm of disclosure,

    Plaintiffs face substantially elevated risk of: data errors which could interfere with their

    paychecks or other employment benefits, purposeful withholding of payments to which

    they are legally entitled, and identity theft. Defendants’ acquiescence to the unlawful

    commandeering of government information systems serves no public interest; the seizure

    of those systems is nothing more than an attempted evasion of legal and regulatory

    safeguards by quasi-governmental actors in the course of their concerted effort to gut the

    federal government. This Court should issue a temporary restraining order to protect

    Plaintiffs from these harms and prevent further degradation of critical government systems

    until this Court has the opportunity to further consider the case.




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      I.   Plaintiffs are likely to succeed on the merits.

           Defendants’ actions are replete with legal violations. Plaintiffs are therefore likely

    to prevail on the merits of their claims. First, Defendants’ actions violate a variety of

    statutory provisions regarding the privacy and security of private information in

    government hands. Second, because the decision of Treasury and OPM to grant DOGE

    operatives access to their information systems represents final agency action taken without

    authorization and contrary to law, it violates the Administrative Procedure Act. Finally,

    this infiltration deprives Plaintiffs of their right to informational privacy under the Due

    Process Clause of the Fifth Amendment.

               A. Defendants’ decisions granting systems access to DOGE constituted
                  disclosures in violation of both the Privacy Act of 1974 and the Internal
                  Revenue Code

           Defendants’ actions violate at least two distinct laws governing information

    security and privacy for government data. Access to and maintenance of government

    information systems are carefully regulated to protect the security of information—

    including and especially PII. Among the comprehensive scheme of statutes which impose

    obligations on agencies to protect these systems are:

               •   The Privacy Act of 1974, 5 U.S.C. § 552a;

               •   The Internal Revenue Code, 26 U.S.C. § 7431.

           The Privacy Act of 1974 prohibits disclosure of information from systems of

    records except in enumerated circumstances, 5 U.S.C. § 552a(b), and prohibits the use of

    such data for computer matching without an adequate written agreement, id. § 552a(o);

    FISMA requires that agencies provide information security protection “commensurate with

    the risk and magnitude of the harm resulting from unauthorized access [or] use” of




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    information or information systems maintained by the agency, 44 U.S.C. § 3554(a)(1)(A);

    and The Internal Revenue Code prohibits unauthorized disclosure of tax return information

    and unauthorized inspection of tax return information, 26 U.S.C. § 7431. The Treasury

    Defendants and OPM Defendants violated each of these provisions of law when they

    provided access to their respective systems to DOGE Defendants and other unidentified

    unauthorized users.

           The Privacy Act of 1974 was passed to “provide certain safeguards for an individual

    against an invasion of personal privacy by requiring Federal agencies” to, among other

    things, “collect, maintain, use, or disseminate any record of identifiable personal

    information in a manner that assures that such action is for a necessary and lawful purpose

    . . . and that adequate safeguards are provided to prevent misuses of such information.”

    Privacy Act of 1974, § 2(b), 2(b)(4), 88 Stat. 1896 (1974), codified as amended at 5 U.S.C.

    § 552a. “[I]n order to protect the privacy of individuals identified in information systems

    maintained by Federal agencies,” Congress decided “to regulate the collection,

    maintenance, use, and dissemination of information by such agencies.” Id. § 2(a)(5), 88

    Stat. 1896. To that end, the Privacy Act regulates “records,” defined as

           any item, collection, or grouping of information about an individual that is
           maintained by an agency, including, but not limited to, his education,
           financial transactions, medical history, and criminal or employment history
           and that contains his name, or the identifying number, symbol, or other
           identifying particular assigned to the individual, such as a finger or voice
           print or a photograph.

    5 U.S.C. § 552a(a)(4).

           Individuals under the Privacy Act are any “citizen of the United States or [] alien

    lawfully admitted for permanent residence.” Id. § 552a(a)(2). As relevant for this case,

    the Privacy Act regulates the disclosure of records, and imposes requirements on agencies



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    to responsibly maintain their recordkeeping systems. With respect to disclosure, the Act

    provides, “No agency shall disclose any record which is contained in a system of records

    by any means of communication to any person, or to another agency, except pursuant to a

    written request by, or with the prior written consent of, the individual to whom the record

    pertains.” Id. § 552a(b) (emphasis added). The Privacy Act includes a private right of

    action for civil remedies where, as here, the government “fails to comply with” the Privacy

    Act “in such a way as to have an adverse effect on an individual.”             5 U.S.C. §

    552a(g)(1)(D).

           Additionally, the Internal Revenue Code provides that “[r]eturns and return

    information shall be confidential” and prohibits the disclosure and use of this information

    by United States employees and other defined persons, except as specifically authorized

    by statute. This confidentiality is core to the Internal Revenue Service’s “Taxpayer Bill of

    Rights”: the

           general ban on disclosure provides essential protection for the taxpayer; it
           guarantees that the sometimes sensitive or otherwise personal information in a
           return will be guarded from persons not directly engaged in processing or
           inspecting the return for tax administration purposes. The assurance of privacy
           secured by § 6103 is fundamental to a tax system that relies upon self-reporting.

    Gardner v. United States, 213 F.3d 735, 738 (D.C. Cir. 2000) (quoting Nat’l Treasury

    Empls. Union v. Fed. Labor Rels. Bd. 791 F.2d 183, 184 (D.C. Cir. 1986). To that end, it

    prohibits “the making known to any person in any manner whatever a return or return

    information,” where “return” means “any tax or information return, declaration of

    estimated tax, or claim for refund” filed with the Secretary of Treasury under the Internal

    Revenue Code. 26 U.S.C. 6103(b).




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           By giving DOGE operatives access to BFS and EHRI, as described above, Treasury

    and OPM violated all three. DOGE is not a component of the Department, so when

    Treasury “disclose[d] . . . record[s]” to DOGE without “the prior written consent” of the

    person to whom it pertains it violated the Privacy Act. 5 U.S.C. § 552a(b). OPM, too,

    violated the Privacy Act when it disclosed EHRI records to DOGE without “prior written

    consent.”   While § 552a(b) includes thirteen exceptions where such disclosure is

    permissible, none of them apply here.

           BFS contained information concerning Plaintiff Doe 1’s tax returns—by granting

    access to BFS systems to individuals outside Treasury, Secretary Bessent disclosed that

    return information. No exception to the Internal Revenue Code prohibition on disclosure

    of return information plausibly authorized this disclosure. Defendants therefore violated

    the Internal Revenue Code by effecting a disclosure of return information, including

    information regarding Plaintiff Doe 1’s tax returns, by granting access to BFS without a

    specific statutory authorization. 26 U.S.C. § 6103. Under 26 U.S.C. § 7431, Plaintiff Doe

    has a private right of action for damages for this violation.

                B. Granting access to sensitive information systems constituted final
                   agency action in violation of the Federal Information Systems
                   Modernization Act, and therefore violated the Administrative
                   Procedure Act.

           The decisions of the Treasury and OPM Defendants to grant DOGE Defendants

    access to their respective systems are final agency action for the purposes of the

    Administrative Procedure Act. Such actions “mark the consummation of the agency’s

    decisionmaking process . . . by which rights or obligations have been determined, or from

    which legal consequences will flow.” U.S. Army Corps of Eng’rs v. Hawkes Co., Inc., 578

    U.S. 590, 597 (2016) (quoting Bennett v. Spear, 520 U.S. 154, 177–178 (1997)). Secretary



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    Bessent’s decision to grant DOGE access to BFS constituted “final agency action,” as did

    OPM granting administrator-level EHRI access to DOGE. Those agency decisions were

    not proposed or hypothetical—they were actual and completed. Both decisions represent

    the “consummation of the agency’s decisionmaking process” concerning the lawfulness of

    such access; constitute a determination as to the “rights and obligations” of the personnel

    granted such access; and are actions “from which legal consequences”—that is, access to

    sensitive personal data and systems of records—have already flowed. Jake’s Fireworks

    Inc. v. United States Consumer Prod. Safety Comm’n, 105 F.4th 627, 631 (4th Cir. 2024)

    (quoting Hawkes Co., 578 U.S. at 597).

           The Administrative Procedure Act provides for judicial review of “final agency

    action for which there is no other adequate remedy in a court.” 5 U.S.C. § 704. Because

    the Federal Information Systems Modernization Act (“FISMA”) lacks a private right of

    action, a party, like Plaintiffs, aggrieved by a final agency action contrary to FISMA has

    no means to obtain judicial review outside the Administrative Procedure Act. Action

    prohibited by FISMA, including the grants of access to DOGE, is “not in accordance with

    law,” “contrary to constitutional right,” or “in excess of statutory jurisdiction” and must be

    set aside. 5 U.S.C. § 706(2).

           FISMA requires agencies to develop security systems and protocols to protect

    sensitive or confidential information in compliance with regulations and standards

    developed by the National Institute of Standards and Technology and promulgated by the

    Secretary of Commerce. 44 U.S. Code § 3553(h)(2)(F), 40 U.S. Code § 11331(a).38 Those



    38
      Both the Privacy Act and FISMA generally apply to information systems maintained
    by the federal government. However, the Privacy Act only governs data pertaining to



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    requirements are found in NIST Special Publication 800-53.39 For example, the standards

    require agencies to “[p]hysically control[] and securely store[]” both “digital and/or non-

    digital media” and “protect[] information system media until the media are destroyed.”40

    Agencies must “enforce[] physical access authorizations,” by “verifying individual access

    authorizations” and “escort visitors and control visitor activity.”41 And they must “prohibit

    the use of portable storage devices,” including hard drives, “when such devices have no

    identifiable owner.”42

           It is implausible and inconsistent with public reporting that when DOGE arrived

    and demanded immediate access to Treasury and OPM data for its personnel that it had

    established any process to ensure that mandatory security controls required by FISMA

    were in place. Reporting indicates that at OPM, for instance, DOGE operatives simply

    assumed command of OPM’s headquarters without observing security protocols—which

    required security badges and escorts, in compliance with NIST SP-800-543 PE-3, that they

    did not have—and subsequently took control of systems and locked OPM employees out.43

    DOGE operatives have accessed sensitive information in both BFS and OPM’s EHRI




    individuals as defined by the act, and prohibits misuse of that information, while FISMA
    applies broadly to all information maintained by such agencies without making specific
    prohibitions on the use of such information. See, e.g., Office of Privacy and Open
    Government, Privacy Laws, Policies, and Guidance, U.S. Dep’t of Commerce (accessed
    Feb. 10, 2025) https://www.commerce.gov/opog/privacy/privacy-laws-policies-and-
    guidance.
    39
       NIST SP-800-53, Security and Privacy Controls for Information Systems and
    Organizations, U.S. Dep’t of Commerce: National Institute of Standards and Technology
    (Sept. 2020), https://nvlpubs.nist.gov/nistpubs/SpecialPublications/NIST.SP.800-53r5.pdf
    [hereinafter “NIST SP-800-53”].
    40
       Id. at 172–73 (“MP-4: Media Storage”).
    41
       Id. at 181–83 (“PE-3: Physical Access Control”).
    42
       Id. at 176 (“MP-7: Media Use”); id. at 411 (“portable storage device”).
    43
        Reid, Musk Aides Lock Workers out of OPM Computer Systems, supra note 4.

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    system, reportedly connecting commercial servers to those networks,44 and in other cases

    have refused to identify themselves,45 raising serious concerns about compliance with

    NIST SP-800-53, which instructs, inter alia, that certain system actions should be

    attributable to an individual user.46

           The magnitude of the harm heightened by unauthorized access to either the BFS

    system or OPM employment databases cannot be overstated. Both systems contain

    voluminous PII from millions of Americans, including Doe 1 and EPIC’s individual

    members; unauthorized access provides ample opportunity for financial gain or retaliation

    against enemies. Similarly, the treasure trove of information from individual Americans—

    including federal employees—is of significant value and interest to foreign adversaries.47

    DOGE operatives’ non-compliance with security protocols intended to safeguard those

    systems against malicious activities makes the systems more vulnerable to attack.48

    Providing access to these systems to individuals with neither legal authority nor any

    legitimate need to access them is inconsistent with even the most basic of security



    44
       Rashid, Elon Musk Installs Illegal Server, supra note 5.
    45
       Conrad Quilty-Harper, Musk’s DOGE Minions Refuse to Reveal Their Names When
    Grilling Civil Servants, Yahoo News (Feb. 4, 2025), https://www.yahoo.com/news/musk-
    doge-minions-refuse-reveal-142347032.html.
    46
       NIST SP-800-53, A-10 (“Non-Repudiation”).
    47
       See C.R.S., Cyber Intrusion into U.S. Office of Personnel Management: In Brief, (July
    17, 2015), https://sgp.fas.org/crs/natsec/R44111.pdf (discussing motive for OPM cyber
    breaches and nothing “Theft of . . . PII may be used for identity theft and financially
    motivated cybercrime, such as credit card fraud. Many have speculated that the OPM data
    were taken for espionage . . . some have cited China as the source of the breaches.”).
    48
       Derek B. Johnson, Cybersecurity, government experts are aghast at security failures in
    DOGE takeover, Cyberscoop (Feb. 4, 2025) https://cyberscoop.com/musk-doge-opm-
    treasury-breach/ (“[DOGE] could be exposing the personal data of millions of federal
    employees, violating federal laws against sharing classified or sensitive information with
    uncleared individuals and creating new cybersecurity vulnerabilities for malicious
    hackers to exploit, these experts say. . . the hack and theft of OPM records by Chinese
    hackers in 2015 is considered among the worst federal security breaches of all time.”).

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    protocols, let alone an elevated set of protections appropriate for such sensitive data and

    information.

           Instead of providing the legally required and necessary security protections for

    systems of such significance, Treasury and OPM Defendants handed DOGE defendants

    and other unknown actors the keys to the kingdom, in violation of FISMA and in direct

    contravention of standard security practices. The BFS system has “long been run by

    nonpolitical career employees,”49 and the unprecedented decision to provide access to

    political appointees is at odds with the system’s striking history of success at administering

    a massive volume of payments.

               C. Defendants’ actions deprive Plaintiffs of their constitutional right to
                  informational privacy.

           Finally, this invasion of informational privacy violates the Constitution. Plaintiffs

    have a privacy right under the Fifth Amendment “to shield information from disclosure.”

    Cf. Dobbs v. Jackson Women’s Health Org., 597 U.S. 215, 273 (2022). “The constitutional

    right to privacy extends to . . . the individual interest in avoiding disclosure of personal

    matters.” Walls v. City of Petersburg, 895 F.2d 188, 192 (4th Cir. 1990) (quoting Whalen

    v. Roe, 429 U.S. 589, 599–600 (1997)); see also Nat’l Aeronautics and Space Admin. v.

    Nelson, 562 U.S. 134, 138 (2011).50 This Circuit asks two questions: whether a person has

    a “reasonable expectation of privacy” in the relevant information and whether there is “a

    compelling governmental interest in disclosure [that] outweighs the individual’s privacy




    49
       Michael Stratford, Trump administration gives Musk allies access to Treasury payment
    system, POLITICO (Feb. 1, 2025), https://www.politico.com/news/2025/02/01/musk-
    claims-doge-lax-treasury-00201946.
    50
       Dobbs expressly recognized the right to informational privacy as a discrete component
    of the constitutional right to privacy more generally. Dobbs, 597 U.S. at 273.

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    interest.”   Payne v. Taslimi, 998 F.3d 648, 655-56 (4th Cir. 2021).          Based on the

    government’s own representations, individuals reasonably expect that the government will

    protect and keep private personal information they provide for purposes of employment or

    paying taxes.51 And that presumption is even stronger with regard to financial information;

    in Walls, the Court held that a municipal employee had a reasonable expectation of privacy

    in such information including “outstanding debts and judgments,” such that the employee

    was entitled to constitutional protection. 895 F.2d at 194.

            One the other hand, the government has no compelling interest in disclosure of

    individuals’ private information here. Defendants have not identified what interest DOGE

    has in the sensitive information in Americans’ tax returns or federal employees’ profiles,

    let alone show that any such interest might qualify as compelling. Indeed, given that the

    DOGE Defendants lack legal authority to undertake this project in the first place, it is not

    clear that any interest they could articulate could suffice, because to withstand scrutiny of

    any rigor, the government must as a threshold matter establish that its interest is

    “legitimate.” See NASA v. Nelson, 562 U.S. at 143.

     II.    Plaintiffs continue to suffer irreparable harm from unknown and
            unaccountable actors’ access to their PII.

            Plaintiffs’ harm is irreparable because once divulged, confidential information

    cannot be rebottled, and because violations of constitutional rights are always irreparable,

    no matter how brief. As discussed, DOGE Defendants’ continuing access to Treasury and



    51
       See, e.g., Internal Rev. Serv., The Taxpayer Bill of Rights, https://www.irs.gov/pub/irs-
    pdf/p1.pdf (“Taxpayers have the right to expect that any information they provide to the
    IRS will not be disclosed unless authorized by the taxpayer or by law”); OPM,
    Declaration for Federal Employment, OF-306,
    https://www.opm.gov/forms/pdf_fill/of0306.pdf (identifying “Routine Uses” for Privacy
    Act purposes).

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    OPM systems constitutes an ongoing violation of Plaintiffs’ informational privacy rights,

    both statutory (under the Privacy Act and Internal Revenue Code) and constitutional (under

    the Fifth Amendment). The longer Defendants are permitted unauthorized access to these

    sensitive systems, the more likely it is that they will access or further disclose Plaintiffs’

    individual data, and the longer Plaintiffs’ data remains at a heightened risk of exposure or

    exfiltration by hostile actors.52

            Plaintiffs have standing to bring this suit. Doe 1 is a career civil servant, and OPM

    therefore retains her sensitive personal information on EHRI, including her Social Security

    number, home address, and disciplinary record. Doe Decl. (Ex. A) ¶¶ 2, 5. Likewise, both

    Doe 1 and many of Plaintiff EPIC’s members have filed their federal tax returns

    electronically within the last six years, so BFS systems contain extensive financial

    information about them, including statutorily protected return information. Doe Decl. (Ex.

    A) ¶¶ 6, 7; Butler Decl. (Ex. B) ¶¶ 7, 8, 12; Kennedy Decl. (Ex. C) ¶¶ 9-11; Brody Decl.

    (Ex. D) ¶¶ 9-11; Schneier Decl. (Ex. E) ¶¶ 9-11. Plaintiffs reasonably expected that the

    information they had provided the government was subject to comprehensive protections

    against unlawful disclosure. Doe Decl. (Ex. A) ¶¶ 8, 9; Butler Decl. (Ex. B) ¶¶ 9–12;

    Kennedy Decl. (Ex. C) ¶¶ 12, 13; Brody Decl. (Ex. D) ¶¶ 12, 13; Schneier Decl. (Ex. E)

    ¶¶ 12, 13. Breaking those expectations in violation of statute injures Plaintiffs in a way

    that “creates statutory harm and confers standing.” Gaston v. LexisNexis Risk Sols., Inc.,

    483 F. Supp. 3d 318, 343 (W.D.N.C. 2020) (holding that where a “statute specifically




    52
      See Order at 2, New York v. Trump, No. 1:25-cv-01144 (S.D.N.Y., Feb. 8, 2025), ECF
    No. 6 (describing “firm assessment” that DOGE access to Treasury systems creates
    “heightened risk that the systems in question will be more vulnerable than before to
    hacking.”).

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    protects people from all disclosure of personal information . . . except in certain permissible

    instances . . . impermissible disclosure of a plaintiff's personal information in violation” of

    that statute gives plaintiffs standing).

            Defendants’ failure to abide by those protections has injured and continues to injure

    Plaintiffs. The disclosure of confidential and sensitive information causes substantial and

    irreparable harm to those to whom the information belongs, because once broken,

    confidentiality cannot be reestablished. See X Corp. v. Doe, 805 F. Supp. 1298, 1304 (E.D.

    Va. 1992), aff’d sub nom. Under Seal v. Under Seal, 17 F.3d 1435 (4th Cir. 1994) (“Once

    confidential attorney-client communications are disclosed, their confidential nature is

    permanently and irrevocably impaired. . . . [Movant’s] right to prevent disclosures of

    confidential information might be forever lost absent a preliminary injunction.”); CACI,

    Inc.-Fed. v. United States Navy, 674 F. Supp. 3d 257, 278 (E.D. Va. 2023) (“because a

    trade secret, once lost, is of course, lost forever.”); see also Plante v. Gonzalez, 575 F.2d

    1119, 1135 (5th Cir. 1978) (“When a legitimate expectation of privacy exists, violation of

    privacy is harmful without any concrete consequential damages.”).              To the extent

    Defendants have already accessed Plaintiffs’ data, they must be immediately restrained

    from further access or use and required to relinquish whatever access they currently have

    and destroy any data retained.

            Further [where] there is a likely constitutional violation, the irreparable harm factor

    is satisfied.” Leaders of a Beautiful Struggle v. Balt. Police Dep’t, 2 F.4th 330, 346 (4th

    Cir. 2021) (citing Mills v. District of Columbia, 571 F.3d 1304, 1312 (D.C. Cir. 2009). It

    is well established that the deprivation of constitutional rights “unquestionably constitutes

    irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373 (1976). Here, Defendants’ actions




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    deprive the individuals whose information is stored on these systems, including Plaintiff

    Doe 1 and the members of Plaintiff EPIC, of their constitutional right to determine when it

    is appropriate to disclose their private information.

           Until unauthorized actors no longer have access to these systems, they can easily

    and immediately misuse PII in violation of law by arbitrarily stopping payments through

    access to the BFS system, as they have publicly claimed to do.53 This improper access also

    creates a heightened risk that it will be used to bring adverse employment actions on the

    basis of information in the OPM system or use PII gathered from either system for unlawful

    purposes.54 Even to the extent DOGE has been granted “read-only” access,55 that too is

    unnecessary, and in any event is not permitted by the Privacy Act or the operative




    53
       Department of Government Efficiency (@DOGE), X/Twitter (Jan. 28, 2025, 7:20 PM
    ET), https://x.com/DOGE/status/1884396041786524032 (“DOGE is saving the Federal
    Government approx. $1 billion/day, mostly from stopping the hiring of people into
    unnecessary positions, deletion of DEI and stopping improper payments to foreign
    organizations, all consistent with the President’s Executive Orders.”).
    54
       See, e.g., Andrew Duehren et al., Elon Musk’s Team Now Has Access to Treasury’s
    Payments System, The New York Times, Feb. 2, 2021,
    https://www.nytimes.com/2025/02/01/us/politics/elon-musk-doge-federal-payments-
    system.html (access gives administration “another mechanism to attempt to unilaterally
    restrict disbursement of money approved for specific purposes by Congress”); Isaac
    Stanley-Becker, et al., Musk’s DOGE agents access sensitive personnel data, alarming
    security officials, Wash. Post (Feb. 6, 2025) https://www.washingtonpost.com/national-
    security/2025/02/06/elon-musk-doge-access-personnel-data-opm-security/ (government
    officials expressed “alarm about . . . abuses of [OPM ] records by members of an
    administration . . . [that has] threatened to retaliate against federal workers accused of
    disloyalty.”).
    55
       See, e.g., Order, Alliance for Retired Americans v. Bessent, No. 1:25-cv-00313
    (D.D.C., Feb. 6, 2025), ECF No. 13.

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    information system security standards; DOGE employees have no lawful reason to access

    these systems.

              Reports also indicate that operatives connected with DOGE have connected

    unapproved information technology to government systems.56 In addition to violating

    security and privacy standards under FISMA, these unprecedented uses of government

    networks risk exactly what FISMA was designed to prevent, and significantly increase the

    vulnerability of the information in these systems: according to one OPM employee, the

    “access leaves federal employee data unsecured and vulnerable to hackers.”57 As long as

    PII or other sensitive information remains on unsecured and unmanaged information

    technology under the control of DOGE Defendants, that heightened risk of infiltration

    remains. This presents a “substantial risk” Beck v. McDonald, 848 F.3d 262, 275 (4th Cir.

    2017) (quoting Clapper v. Amnesty International, 568 U.S. 398, 414 n.5 (2013)), of

    plaintiffs suffering future identity theft. It is “no secret” that OPM’s “network is regularly

    subject to a strikingly large number of hacking attempts” In re OPM Data Security Breach

    Litigation, 928 F.3d 42, 51 (D.C. Cir. 2019) aimed at the theft of personal information. As

    a result of the increased vulnerability introduced by Defendants’ actions, these attempts are

    now more likely to be successful.

    III.      The balance of equities and the public interest favor Plaintiffs.

              The final two factors “merge when the Government is the opposing

    party,” Miranda, 34 F.4th at 365 (quoting Nken, 556 U.S. at 435), and here, both favor

    plaintiffs. The government cannot suffer harm from an injunction that merely ends an




    56
         Rashid, supra note 5.
    57
         Rashid, supra note 5.

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    unlawful action because “‘a state is in no way harmed by issuance of

    a preliminary injunction which prevents the state from enforcing restrictions likely to be

    found unconstitutional,’” Leaders, 2 F.4th at 346 (internal citations omitted), or which

    “merely ends an unlawful practice or reads a statute as required.” R.I.L-R v. Johnson, 80

    F. Supp. 3d 164, 191 (D.D.C. 2015) (quoting Rodriguez v. Robbins, 715 F.3d 1127, 1145

    (9th Cir. 2013)). “If anything, the system is improved by such an injunction.” Centro

    Tepeyac v. Montgomery Cnty., 722 F.3d 184, 191 (4th Cir. 2013). “There is generally no

    public interest in the perpetuation of unlawful agency action.” League of Women Voters

    of U.S. v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016). “To the contrary, there is a substantial

    public interest in having governmental agencies abide by the federal laws—such as the

    APA, as well as regulations . . .that govern their existence and operations.” Open

    Communities Alliance v. Carson, 286 F. Supp. 3d 148, 179 (D.D.C. 2017) (internal

    quotation marks and citations omitted). These principles should end all inquiry on the third

    and fourth temporary restraining order factors: plaintiffs’ requested relief would impact

    only unlawful activities.

             But even if this Court were to consider Defendants’ interests as if they were private

    parties, the balance of equities and public interest would still overwhelmingly favor

    plaintiffs. Neither Defendants nor any of their associates have identified any lawful or

    legitimate need or reason for their seizure of government information systems. According

    to the E.O. creating DOGE, its purpose is to modernize government information systems.58

    But the access granted to DOGE is not necessary for that purpose, nor does the E.O. permit

    DOGE to violate the law.



    58
         Exec. Order No. 14158 § 4(a).

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           Far from confining themselves to lawful justifications, Defendants and their

    associates have identified and threatened unlawful reasons: the withholding of legally

    obligated payments,59 and the distribution of purported severance offers without

    authorizing appropriations.60 The unlawful agenda of Defendants and their associates may

    suffer from the entry of a temporary restraining order, but their legally mandated operations

    would in fact be improved by restoration of normal order.

           And plaintiffs, along with tens of millions of other Americans, including similarly

    situated federal employees, applicants, and taxpayers, would benefit as a result.          A

    temporary restraining order would eliminate an active risk to taxpayer and federal

    employee privacy carrying real threats of identity theft or other malicious action, and would

    prevent both accidental and purposeful disruption of government payments.

                                         CONCLUSION

           For the foregoing reasons, Plaintiffs respectfully request that this Court grant their

    motion and enter a temporary restraining order enjoining OPM Defendants and Treasury

    Defendants from allowing unauthorized or unlawful access to their information systems,

    and enjoining DOGE Defendants from accessing EHRI or BFS systems. Plaintiffs also

    request that the Court order Defendants to file a status report within twenty-four hours of

    the issuance of any temporary restraining order confirming that DOGE Defendants no

    longer have access to EHRI or BFS systems.




    59
       See Elon Musk (@elonmusk), X/Twitter (Feb. 2, 2025, 3:14 AM ET),
    https://x.com/elonmusk/status/1885964969335808217 (claiming that DOGE is “shutting
    down [certain] illegal payments).
    60
       See OPM, Fork in the Road, opm.gov/fork (government-wide email purporting to offer
    “deferred resignation program”).

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     Dated: February 12, 2025           Respectfully submitted,

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